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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

  CRYSTAL SANCHEZ,                             Civil Action No. 3:17-CV-05775-
  on behalf of herself and all others                     PGS-DEA
  similarly situated,
                      Plaintiff,                  REPLY IN SUPPORT OF
                                                DEFENDANTS’ MOTION TO
  vs.
                                                 STRIKE THE UNTIMELY
  SANTANDER BANK, N.A., a subsidiary of          FILED CONSENT FORMS
  Santander Holdings, USA, Inc.; GHOUS
  AGHA; NADIA JOSEPH; KRISTEN
  RIMEK; JOHN & JANE DOE 1-10; XYZ
  CORPORATION (1-10),

                      Defendants.
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  I.    INTRODUCTION
        Plaintiff Crystal Sanchez’s (“Plaintiff” or “Sanchez”) Response in Opposition

  (the “Opposition”) to Defendants’ Motion to Strike the Untimely Filed Consent

  Forms (the “Motion”) fails to provide this Court with any basis, let alone any

  competent evidence, that the 34 late-filed opt-in plaintiffs had good cause to file their

  consent forms after the unquestionable opt-in deadline. Plaintiff argues that, because

  the Court did not specifically identify a filing deadline, as opposed to a “deadline to

  respond,” no such deadline exists. In short, Plaintiff relies on nothing more than

  semantics to support her position. This Court should reject such an argument

  because it would render the opt-in deadline, as printed on the Notice to the potential

  opt-in plaintiffs, to be unnecessary and immaterial.

        Even if the Court accepted Plaintiff’s illogical position that the only applicable

  deadline is the date on which the consent forms were to be returned, either by mail

  or electronic submission, Plaintiff presented no argument or evidence whatsoever to

  demonstrate that the untimely consent forms were either postmarked or

  electronically submitted on or before the opt-in deadline. Rather than produce any

  postmarked envelopes or other documentary evidence that might be used to

  determine the timeliness of the consent forms, Plaintiff is essentially asking the

  Court to assume such timeliness based on generalized and unsubstantiated

  statements, such as hypothetical “snail mail” delays. Plaintiff’s failure to include


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  any competent evidence prevents the Court from assessing and determining whether

  the late-filed consent forms could possibly satisfy the “excusable neglect” or “good

  cause” standard.

        Accordingly, Defendants respectfully request that the Court strike the 42

  untimely consents forms. (See D.E. 166, 167, 172) Defendants further request that

  the 341 unique putative opt-in plaintiffs whose consent forms were not timely filed

  should not be permitted to participate as party plaintiffs in this action.

  II.   ARGUMENT
        A.     Plaintiff Fails To Provide Any Evidence That The Untimely Opt-in
               Consent Forms Were Timely Returned
        In opposing Defendants’ Motion, Plaintiff repeatedly states that the “Notice

  of Collective Action” (“Notice”), which was mailed to the putative opt-in plaintiffs

  on April 29, 2020, merely sets out a deadline by which the consent form is to be

  “postmarked” or “returned.” (Opposition (“Opp.”), D.E. 196, at 1-2, 5-6) Plaintiff

  further contends that the 34 untimely opt-in plaintiffs at issue all returned their

  consent forms, through the mail or electronically, on or before the June 29, 2020 2


  1
         Three unique, but untimely, opt-in plaintiffs each filed two untimely
  duplicate consent forms on June 30, 2020, while five of the untimely consent forms
  filed on June 30, 2020 were filed on behalf of opt-in plaintiffs who had filed
  consent forms prior to the close of the opt-in period. (Motion (“Mot.”), D.E. 187-
  1, at 3, n. 5).
  2
        Plaintiff appears to argue that June 29, 2020 is the proper opt-in deadline
  pursuant to Rule 6 of the Federal Rules of Civil Procedure, although not actually

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  deadline, which Plaintiff presents as undisputed and unchallenged by Defendants.

  (See id. at 2) Plaintiff is incorrect.

         Defendant’s Motion explicitly identified Plaintiff’s lack of evidence

  demonstrating that the untimely-filed consent forms were indeed postmarked or

  returned before the stated deadline. (Mot., D.E. 187-1, at 6 (“Counsel for Plaintiff

  has failed to produce any evidence (e.g., postmarked envelopes) showing that the

  untimely filed opt-in consent forms were in fact “returned” to their office, as

  required by the Notice, prior to the expiration of the opt-in period deadline.”). Yet,

  in response, Plaintiff admits to failing to provide such evidence and repeatedly

  offers nothing more than unsubstantiated and conclusory statements. (Opp., D.E.

  196, at 8 (“[T]he only evidence before the Court concerning when these forms

  were fil[ed] and submitted are the dates provided by the opt-in plaintiffs, all of

  whom certified with their signatures that the forms were completed prior to the

  deadline.”)). Given that the Notice requires timely return of the consent forms, the

  failure to do so is sufficient basis to strike the opt-in plaintiffs. See Evans v.

  Lowe’s Home Centers, Inc., 2005 WL 6742284, at *1-2 (M.D. Pa. Mar. 3, 2005)



  cited by Plaintiff. (Opp., D.E. 196, at p. 2, n. 1) Defendants disagree that the
  deadline should be continued to Monday, rather than Sunday, June 28, 2020, given
  that the Notice provided electronic and other means of submitting the consent
  forms, and, most significantly, Plaintiff made the decision to send out the Notice
  on Wednesday, April 29, 2020, instead of waiting until the following day. (See
  D.E. 187-3, 187-4)

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  (striking 10 opt-in consent forms that were signed before the end of the opt-in

  period but where the opt-in plaintiffs “simply did not mail their Notices of Consent

  in a timely fashion,” reasoning that “they are not qualified as Plaintiffs”); see also

  Martin v. Citizens Fin. Group, Inc., 2011 U.S. Dist. LEXIS 153739, at *4 (E.D. Pa.

  June 23, 2011) (“We will not, however, accept the opt-in forms of the remaining

  individuals, as they have failed to offer a reasonable excuse for their untimely

  submissions.”).

        While Plaintiff could have filed supporting documentary evidence, she chose

  not to do so. Without such evidence, Plaintiff is asking this Court to assume

  compliance based on the signing date alone, which is insufficient. As Plaintiff’s

  Opposition repeatedly stated, the language of the Notice explicitly required that the

  consent forms be postmarked and returned by the opt-in period deadline. By

  failing to respond to Defendant’s Motion with such documentary evidence of

  compliance, Plaintiff has waived the opportunity to do so.

        B.     Plaintiff Fails to Establish “Good Cause” or “Excusable Neglect”
        Plaintiff argues that the opt-in deadline is the deadline for returning the

  consent forms, rather than the deadline to file. Yet, as noted above, Plaintiff has

  offered no evidence that the consent forms for the 34 unique opt-in plaintiffs were

  timely delivered. Further, Plaintiff illogically concludes that absent an explicit

  filing deadline, there is no filing deadline and the opt-in period is still open. (Opp.,



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  D.E. 196, at 10-11) Plaintiff then, in an apparent contradiction, states that absent

  an explicit filing deadline, only reasonableness is required. (Id. at 5). Plaintiff is

  not only incorrect, but the Plaintiff’s position would invariably render the opt-in

  deadline illusory.

        Rather, under these circumstances, courts in the Third Circuit generally

  apply an “excusable neglect” or “good cause” standard. 3 See, e.g., Potoski v.

  Wyoming Health Care System, 2014 WL 12883904, at 2 (M.D. Pa. July 17, 2014)

  (applying a “good cause” standard to consent forms filed after the Court-approved

  “notice period,” although “the Court’s Notice did not … specify a date before

  which Class Counsel was required to file the written [c]onsents with the Court”)

  (citing Manning v. Gold Belt Falcon, LLC, 814 F. Supp. 2d 451, 454 (D.N.J.

  2011)); Camesi v. Univ. of Pittsburgh Med. Ctr., 2009 WL 4573287, at *2 (W.D.

  Pa. Dec. 1, 2009) (citing DaSilva v. Esmor Corr. Servs., Inc., 167 F. App’x 303,

  307-308 (3d Cir. 2006)). Yet, Plaintiff offers no “good cause” upon which the

  Court might decide whether to accept such late-filed consent forms. Plaintiff’s

  failure to offer any evidence showing when the opt-in consent forms were returned



  3
        Plaintiff incorrectly references a “high burden” that Defendants’ Motion
  must allegedly meet in order to prevail. (Opp., D.E. 196, at 1) Plaintiff
  mischaracterizes the cited authority, which addressed a motion to strike allegations
  from a pleading pursuant to Federal Rule of Civil Procedure 12(f) and thus is
  inapplicable to this Motion. See Anello Fence, LLC v. Vca Sons, Inc., 2016 WL
  354746, at *2-3, 7 (D.N.J. Jan. 27, 2016).

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  or postmarked, or even explaining the reason(s) why there was a delay between the

  time they were received and then filed, makes it impossible to conclude that these

  untimely opt-in plaintiffs satisfy the good cause or excusable neglect standard.

        Again, Plaintiff merely presents unsubstantiated or hypothetical reasons for

  delay, but does not actually explain why, for instance, many of the untimely filed

  consent forms have signatures dated over 30 days prior to the date they were filed,

  which was after the close of the opt-in period. For instance, the opt-in consent

  form of Sheila Jones was filed on July 8, 2020, which was 68 days after it was

  signed. (D.E. 167-3) Rather than submit documentary evidence regarding

  purported postal service delays, or even identify which untimely opt-in consent

  forms, if any, were affected by such delays, Plaintiff merely presents such possible

  delays as the basis for necessitating additional time between the consent form

  return and filing deadlines. (Opp., D.E. 196, at 7 (“This problem would further be

  exacerbated for mailed forms, which could be properly postmarked and sent prior

  to the close of the opt-in period but received days or weeks after the opt-in period

  closed.”). Plaintiff’s failure to present any argument or evidence explaining the

  delay ultimately preclude the Court from being able to provide an individualized

  “good cause” analysis. See Moya v. Pilgrim’s Price Corp., 2006 WL 3486739, at

  *1 (E.D. Pa. Nov. 30, 2006); see also, In re Food Lion, 1998 WL 322682, at *10

  (4th Cir. June 4, 1988) (analyzing individual reasons offered by untimely opt-in



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  plaintiffs); Camp v. Progressive Corp., 2003 WL 21805039, at *2 (E.D. La. Aug.

  5, 2003) (examining reasons for delay offered by different potential opt-in

  plaintiffs and distinguishing among them).

        Plaintiff repeatedly argues that untimely opt-in plaintiffs signed the consent

  forms before the opt-in deadline. But that alone is insufficient to support

  excusable neglect. Plaintiff appears to mistakenly believes that this fact by itself

  satisfies the obligation to show “good cause.” As such, Plaintiff is asking the

  Court to infer, without any supporting evidence, that if the consent form is dated

  before the opt-in deadline, then it can be filed any time after the opt-in period

  closes without consideration of the amount of time from when the consent form

  was returned to when it was filed with the Court. Plaintiff is again incorrect. For

  instance, in Potoski v. Wyoming Valley Health Care System, the Court granted

  defendants’ motion to strike several opt-in consent forms that were filed after the

  opt-in period ended, but had been signed and dated before the end of the opt-in

  period, because the Court found plaintiffs’ proffered reasons for the delay, between

  when the forms were completed and when they were returned to the Court, was

  insufficient to support a finding of “good cause.” 2014 WL 12883904, at *2 (M.D.

  Pa. July 17, 2014) (“[T]here is also significant gap of time between when their

  forms were completed and when they were returned to the Court…. Without

  further substantiation as to the length of time of the delay, the Court finds ‘good



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  cause’ has not been shown for the tardiness of these forms.”). Here, Plaintiff fails

  to provide any reason, let alone a sufficient reason, to support a finding of good

  cause.

           C.    Defendants Will Be Prejudiced By The Acceptance of the Untimely
                 Filed Opt-In Consent Forms
           Under the excusable neglect and good cause standards, courts consider a series

  of equitable factors, which consist of the “danger of prejudice to the nonmovant, the

  length of the delay and its potential impact on judicial proceedings, the reason for

  the delay, including whether it was within the reasonable control of the movant, and

  whether the movant acted in good faith.” Thompson v. Peak Energy Service USA,

  Inc., 2014 WL 789087, at *1 (W.D. Pa. Feb. 26, 2014) (internal citations omitted).

  As explained in detail above, Plaintiff presents little more than hypotheticals and

  unsubstantiated conclusory statements to support and explain the delayed filing of

  the opt-in consent forms. As such, Plaintiff also attempts to salvage the late-filed

  opt-in consent forms by taking the position that the late filings are not prejudicial to

  Defendants and will promote judicial efficiency. Specifically, Plaintiff argues that

  Defendants will not be prejudiced because the opt-in period and discovery are still

  allegedly open, Defendants have served discovery to some of the untimely opt-in

  plaintiffs, and striking the untimely filed consent forms will lead to increased judicial

  inefficiency. (Opp., D.E. 196, at 10-13)




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        First of all, Plaintiff mischaracterizes the opt-in period. Plaintiff’s position

  that additional opt-in consent forms can continue to be filed almost 9 months after

  the opt-in period closed is inherently prejudicial. See Vivone v. Acme Markets, Inc.,

  687 F. Supp. 168, 169 (E.D. Pa. 1988) (“unnamed plaintiffs [do not] have an

  interminable right to opt into … class actions. For example, in the interests of

  justice, to facilitate trial preparation and settlement discussions, after allowing a fair

  time for the filing of consents, a court may declare the class closed.”). Moreover,

  even one untimely opt-in plaintiff poses a prejudicial burden, let alone the 34

  untimely opt-in plaintiffs at issue. See Mack v. RMLS-HOP Restaurants PA, L.P.,

  2020 WL 6551219, at *3 (M.D. Pa. Nov. 6, 2020). As such, the prejudice to

  Defendants is substantial given the sheer number of untimely opt-in plaintiffs,

  including some whose claims might be otherwise barred by the statute of limitation,

  such that their inclusion in this action would not only greatly expand the scope of

  this case, but Defendants’ potential liability. Second, Defendants have repeatedly

  objected to the upcoming second tranche notice, which will be distributed to a

  different group of putative collective members, and have also preserved their ability

  to move to strike or dismiss anyone who opts in as part of the second tranche notice.

  (See Joint Status Report, D.E. 190, at 9-11; see also Order, D.E. 193, at 2) As such,

  by pointing to the second tranche notice as evidence of lack of prejudice, Plaintiff

  mischaracterizes the Parties’ positions regarding the second tranche notice, which



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  Defendants believe will serve to further compound the existing prejudice. Third, the

  fact that some of the untimely opt-in plaintiffs were randomly selected to receive

  discovery requests does not serve to eliminate or cure Defendants’ prejudice,

  particularly because only 3 untimely opt-in plaintiffs        ever responded to the

  discovery requests, while the remaining 31 have not participated in any discovery.

  See Potoski v. Wyoming Valley Health Care Sys., 2017 WL 11047059, at *1, n. 1

  (M.D. Pa. Nov. 17, 2017) (noting that “Defendants were correct when they stated …

  that deposing two of twenty-three of the opt-in plaintiffs at issue does not eliminate

  the prejudice of delay”). Lastly, Plaintiff’s arguments in favor of judicial efficiency

  would require Courts to broadly allow class and collective actions to proceed without

  consideration of its orders and deadlines based on plaintiffs’ intention to re-file

  should they be dismissed from the action.

  III.   CONCLUSION
         For the foregoing reasons, Defendants respectfully request that the 42 opt-in

  consent forms filed after the June 28, 2020 deadline be stricken by this Court.




                                               Respectfully submitted,

   Dated: March 22, 2021                       By: /s/ Christina T. Tellado___________
                                                   Christina T. Tellado
                                                    (N.J. Bar No. 401052006)
                                                    Valerie Brown
                                                    (N.J. Bar No. 027152010)


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                          CERTIFICATE OF SERVICE

        I, Christina T. Tellado, hereby certify that on March 22, 2021, a true and

  correct copy of the foregoing was served via the Court’s ECF system on all counsel

  of record.



  Dated: March 22, 2021                             /s/ Christina T. Tellado
                                                    Christina T. Tellado




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